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 6   Attorneys for Plaintiff
     United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:21-CR-00184-DAD-BAM
12                               Plaintiff,             MOTION AND ORDER TO PARTIALLY
                  v.                                    UNSEAL SUPERSEDING INDICTMENT
13

14   DARYOL RICHMOND, aka “Nutcase,”
     “Nuttcase,” and “Nuttcase 3x,”
15   TELVIN BREAUX, aka “AJ” and “Lilcup,”
     HOLLY WHITE,
16   CECELIA ALLEN, aka “Cece” and “Cee Cee,”
17
     FANTASIA BROWN, aka “Tay Tay,”
     TONISHA BROWN,
18   FANTESIA DAVIS, aka “Tesia,” and
     SHANICE WHITE,
19                              Defendants.
20
            On December 16, 2021, the defendants were charged in a Superseding Indictment with violations
21
     of 18 U.S.C. § 1349 – Conspiracy to Commit Mail Fraud, and 18 U.S.C. §§ 1028A(a)(1) and 2 –
22
     Aggravated Identity Theft and Aiding and Abetting. Defendants Daryol Richmond, Telvin Breaux, and
23
     Holly White were already in custody and are scheduled to be arraigned on the indictment in this Court
24
     on January 18, 2022. The remaining defendants, which included Shanice White, were not in custody at
25
     that time and the indictment was ordered redacted and sealed as to them.
26
            On January 15, 2022, Shanice White was arrested in the District of Nevada and is scheduled to
27
     make her initial appearance there on January 18, 2022. Therefore, the government moves the Court to
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           Case 1:21-cr-00184-ADA-BAM Document 53 Filed 01/18/22 Page 2 of 3


 1   order that the Superseding Indictment be partially unsealed as to Shanice White so that she can be
 2   arraigned and apprised of the charges against her. The indictment will remain redacted and sealed as to
 3   the remaining defendants who are not in custody. A copy of the partially unsealed indictment is
 4   attached to this Motion.
 5
     DATED: January 17, 2022                      Respectfully submitted,
 6

 7                                                       PHILLIP A. TALBERT
                                                         United States Attorney
 8

 9
                                                  By:    /s/ Joseph D. Barton
10                                                       JOSEPH D. BARTON
                                                         Assistant U.S. Attorney
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           Case 1:21-cr-00184-ADA-BAM Document 53 Filed 01/18/22 Page 3 of 3


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 9                                  EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 1:21-CR-00184-DAD-BAM
12                                Plaintiff,             ORDER TO PARTIALLY
                   v.                                    UNSEAL SUPERSEDING INDICTMENT
13

14   DARYOL RICHMOND, aka “Nutcase,”
     “Nuttcase,” and “Nuttcase 3x,”
15   TELVIN BREAUX, aka “AJ” and “Lilcup,”
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     FANTASIA BROWN, aka “Tay Tay,”
     TONISHA BROWN,
18   FANTESIA DAVIS, aka “Tesia,” and
     SHANICE WHITE,
19                              Defendants.
20
            Good cause appearing due to the defendant, Shanice White’s, arrest and pending initial
21
     appearance in the District of Nevada, it is ordered that the Superseding Indictment be partially unsealed
22
     as to her so that she can be arraigned and apprised of the charges against her.
23
            IT IS SO ORDERED
24

25

26   Dated: January ___,
                    17 2022                               _____________________________
                                                          STANLEY A. BOONE
27                                                        United States Magistrate Judge

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                                                          3
